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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                    Case No. 17-20298
                                                     Hon. Matthew F. Leitman
vs

JAMES M. ELBERT III,

     Defendant.
__________________________________________________________________

      ORDER GRANTING MOTION FOR APPOINTMENT OF EXPERT
     TO PREPARE A PRESENTENCE PSYCHOLOGICAL EVALUATION

       This matter having been brought to the Court upon ex-parte application for

funds to obtain a forensic psychologist, the Court having reviewed the supporting

documents, and being fully informed, is of the opinion that Mr. Elbert has

demonstrated the need for this service for an expert in forensic psychology, and his

financial inability to secure these services on his own;

       THEREFORE, the Court authorizes payment to Dennis Sugrue, Ph.D., from

CJA funds for expert services on behalf of Mr. Elbert, not to exceed $3,700.00,

without further approval of the Court.

                                         /s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

Dated: November 9, 2017
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on November 9, 2017, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-9764
